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    EXHIBIT “F”
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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN            ENVIRONMENTAL
ENTERPRISES,  INC.,     d/b/a THE
SAFETYHOUSE.COM,

                         Plaintiff,

v.
                                                      CIVIL ACTION
MANFRED STERNBERG, ESQUIRE, and
MANFRED STERNBERG & ASSOCIATES, PC, No. 2:22-CV-0688 (JMY)
and CHARLTON HOLDINGS GROUP, LLC, and
SHLOMO GROSS a/k/a SAMUEL GROSS, and
GARY WEISS, and A.SOLAR, LLC, and
DAPHNA      ZEKARIA, ESQUIRE, and
SOKOLSKI & ZEKARIA, P.C.

                         Defendants


 REVISED RESPONSES AND OBJECTIONS OF DEFENDANTS, DAPHNA ZEKARIA,
ESQUIRE, AND SOKOLSKI & ZEKARIA, P.C., TO PLAINTIFF’S FIRST REQUEST FOR
                    PRODCUTION OF DOCUMENTS

       Defendants, Daphna Zekaria, Esquire and Sokolski & Zekaria, P.C., by and through their

attorneys, Rebar Kelly, hereby file the within Revised Responses and Objections to Plaintiff’s Request

for Production of Documents and state as follows:

       1.      All documents evidencing any wires or other receipts of funds from any of the

Sternberg Defendants, or the Gross Defendants, or the Weiss Defendants, or anyone else,

pertaining to the purchase of iCovid test kits (whether for Plaintiff or another purchaser).

       RESPONSE: Please see documents previously produced and Bates stamped

ZEKARIA000017 through ZEKARIA000035.




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       2.      All documents evidencing any wires or other transfers of funds you made to any of

the Sternberg Defendants, or the Gross Defendants, or the Weiss Defendants, or anyone else,

pertaining to the purchase of iCovid test kits (whether for plaintiff or another purchaser).

       RESPONSE: Please see documents previously produced and Bates stamped

ZEKARIA000017 through ZEKARIA000035.

       3.      All documents requested or identified in the Interrogatories propounded upon you.

       RESPONSE: Please see documents previously produced and Bates stamped

ZEKARIA000001 through ZEKARIA000035.

       4.      Your full and complete electronic files and paper file documents for or concerning

the Weiss Defendants.

       RESPONSE: Any discoverable documents in the possession of Answering

Defendants related to the instant matter have been produced and Bates stamped

ZEKARIA000001 through ZEKARIA000035.

       5.      Your full and complete electronic files and paper file documents for or concerning

the Gross Defendants.

       RESPONSE: Objection. This request is overbroad, unduly burdensome, and beyond

the scope of permissible discovery, and concerns matters of attorney client privilege.

Without waiving said objection, any discoverable documents in the possession of Answering

Defendants related to the instant matter have been produced and Bates stamped

ZEKARIA000001 through ZEKARIA000035.

       6.      Your full and complete electronic files and paper file documents for or concerning

or pertaining to the Sternberg Defendants.




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       RESPONSE: All documents responsive to this interrogatory have been produced and

Bates stamped ZEKARIA000001 through ZEKARIA000035.

       7.      Any documents for or concerning or pertaining to TSH Invoice No. 18315 attached

as the first page of Exhibit “1” to the Complaint.

       RESPONSE: None in possession of Answering Defendants.

       8.      Any documents for or concerning or pertaining to the Sale Agreement.

       RESPONSE: None in possession of Answering Defendants.

       9.      Any documents for or concerning or pertaining to the Order.

       RESPONSE: None in possession of Answering Defendants.

       10.     Any documents for or concerning or pertaining to plaintiff’s purchase of or the

provision of any Test Kits to plaintiff.

       RESPONSE: None in possession of Answering Defendants.

       11.     Any documents for or concerning or pertaining to the purchase or acquisition of

any Test Kits by any Defendant.

       RESPONSE: None in possession of Answering Defendants.

       12.     All Documents and Communications pertaining to your receipt of any money from

any Defendant during the time period of December 1, 2021, through June 30, 2022, for the

purchase of Test Kits or otherwise, including without limitation: (a) each of the monthly bank

statements for each applicable bank account; and (b) all Documents showing each deposit made

into such bank account; and (c) all Documents showing each wire-transfer or other withdrawal

from such bank account for the purchase of Test Kits or otherwise; and all Documents identifying

to whom each such outgoing wire-transfer or withdrawal was sent, and why.




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        RESPONSE: See          documents     previously    produced      and    Bates     stamped

ZEKARIA000017 through ZEKARIA000035.

        13.    All Documents and Communications you had with any manufacturer or vendor or

shipper or any other person or entity in connection with any of the 151,200 Test Kits which are

the subject of the instant lawsuit.

        RESPONSE: None in possession of Answering Defendant.

        14.    Any and all Documents which reflect, refer or relate to the shipping of any Covid

test kits purchased by plaintiff from December 1, 2022 through June 30, 2022, including, but not

limited to, any warehouse or storage facility, and bills of lading, and Contact Information for any

such warehouse or storage facility.

        RESPONSE: None in possession of Answering Defendants.

        15.    Any and all Documents which reflect, refer or relate to the sale of any Covid test

kits by any Defendant to any person or entity during the time period of December 1, 2021 through

June 30, 2022, including but not limited to, purchase orders, sale agreements and bills of lading.

        RESPONSE: None in possession of Answering Defendant.

        16.    All documents evidencing any Communications including, but not limited to,

emails and text messages, between any you and any Sternberg Defendant, which in any way reflect,

refer or relate to the purchase or sale of any Test Kit, between December 1, 2021 and June 30,

2022.

        RESPONSE: None in possession of Answering Defendants.

        17.    All documents evidencing any Communications including, but not limited to,

emails and text messages, between any you and any Weiss Defendant, which in any way reflect,




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refer or relate to the purchase or sale of any Test Kit, between December 1, 2021 and June 30,

2022.

        RESPONSE: See        documents      previously    produced      and    Bates    stamped

ZEKARIA000001 through ZEKARIA000012.

        18.    All documents evidencing any Communications including, but not limited to,

emails and text messages, between any you and any Gross Defendant, which in any way reflect,

refer or relate to the purchase or sale of any Test Kit, between December 1, 2021 and June 30,

2022.

        RESPONSE: See        documents      previously    produced      and    Bates    stamped

ZEKARIA000001 through ZEKARIA000012.

        19.    All documents and Communications including, but not limited to, emails and text

messages, between you and any Weiss Defendant and/or any common carrier which in any way

reflect, refer or relate to the issuance of any and all bills of lading for any Test Kits between

December 1, 2021 and June 30, 2022.

        RESPONSE: None in possession of Answering Defendants.

        20.    All Communications including, but not limited to, emails and text messages,

between ASOALR and any common carrier which in any way reflect, refer or relate to the issuance

of any and all bills of lading for any Test Kits purchased by plaintiff, between December 1, 2021,

and June 30, 2022.

        RESPONSE: None in possession of Answering Defendants.

        21.    A true and correct complete copy of each and every actual bill of lading issued for

any Test Kits purchased by plaintiff, between December 1, 2021, and June 30, 2022, and all

Documents showing when each bill of lading was issued and from whom.




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       RESPONSE: None in possession of Answering Defendants.

       22.      Any and all bills of sale issued by or to any Weiss Defendant or any Gross

Defendant for Test Kits between December 1, 2021, and June 30, 2022, including all Documents

showing when each bill of sale was issued, by whom, and the manner in which each such bill of

sale was sent to the Defendant.

       RESPONSE: None in possession of Answering Defendants.

       23.      All Communications including, but not limited to, emails and text messages, which

in any way reflect, refer or relate to Sternberg’s February 8, 2022 email (attached as Exhibit “3”

to the Complaint) that the Test Kits were “in route for delivery as previously directed,” including

without limitation: the identity of the manufacturer or supplier of those Test Kits; and the number

of Test Kits that were “in route for delivery;” and who supplied that information to Sternberg; and

the Bill of Lading issued for that shipment.

       RESPONSE: None in possession of Answering Defendants.

       24.      All Communications including, but not limited to, emails and text messages,

between you and/or any Defendant and the individual known as “Shraga” which in any way reflect,

refer or relate to the delivery of any Test Kits to TSH.

       RESPONSE: None in possession of Answering Defendants.

       25.      All Documents which in any way set forth, refer or relate to the Contact Information

for “Shraga.”

       RESPONSE: None in possession of Answering Defendants.

       26.      All documents and Communications including, but not limited to, emails and text

messages, between you and/or any of the Defendants which in any way reflect, refer, or relate to

the delivery of any Test Kits to Plaintiff on or about February 17, 2022.




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        RESPONSE: None in possession of Answering Defendants.

        27.     All documents and Communications including, but not limited to, emails and text

messages, between any of the Third-Party Defendants and any of the Defendants which in any way

reflect, refer, or relate to the delivery of the Test Kits to Plaintiff at any time.

        RESPONSE: None in possession of Answering Defendant,

        28.     Any and all documents and Communications including, but not limited to, letters,

emails and texts, which reflect, refer or relate to any request made by any Defendant for diamonds

and/or gemstones or any other collateral from any Weiss Defendant.

        RESPONSE: None in possession of Answering Defendants.

        29.     Any and all documents and Communications including, but not limited to, letters,

emails and texts, which reflect, refer or relate to any your receipt of any diamonds and/or

gemstones or any other collateral from any Weiss Defendant.

        RESPONSE: See           documents       previously      produced      and      Bates   stamped

ZEKARIA000013 through ZEKARIA000016.

        30.     Any and all documents and Communications including, but not limited to, letters,

emails and texts, which reflect, refer or relate to any your subsequent disposition of any diamonds

and/or gemstones or any other collateral from any Weiss Defendant.

        RESPONSE: See           documents       previously      produced      and      Bates   stamped

ZEKARIA000013 through ZEKARIA000016.

        31.     Third-Party Defendant for payments made by any Defendant or attorney Daphna

Zekaria to any Third-Party Defendant for Test Kits.

        RESPONSE: None in possession of Answering Defendants.




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        32.       Any and all Documents and Communications including, but not limited to, letters,

emails and texts, which reflect, refer or relate to any collateral provided by any Third-Party

Defendant, or entity related to any Third-Party Defendant, for payments made by any Defendant

or attorney Daphna Zekaria to any Third-Party Defendant for Test Kits.

        RESPONSE: None in possession of Answering Defendants,

        33.       Any and all Documents and Communications including, but not limited to, letters,

emails and texts, which reflect, refer or relate to the type and/or nature of any collateral provided

by any Third-Party Defendant, or entity related to any Third-Party Defendant, for payments made

by any Defendant or attorney Daphna Zekaria to any Third-Party Defendant for Test Kits.

        RESPONSE: None in possession of Answering Defendants.

        34.       Any and all Documents and Communications including, but not limited to, letters,

emails and texts, which reflect, refer or relate to any receipts provided by any Defendant for any

collateral obtained from any Third-Party Defendant, or entity related to any Third-Party

Defendant, for payments made by any Defendant or attorney Daphna Zekaria to any Third-Party

Defendant for Test Kits.

        RESPONSE: None in possession of Answering Defendants.

        35.       All Documents which in any way reflect, refer or relate to the expiration dates of

the Test Kits shipped or proposed to be shipped to Plaintiff.

        RESPONSE: None in possession of Answering Defendants.

        36.       Any and all Documents which in any way reflect, refer or relate to the names,

addresses and current location of any person that has knowledge of any claim asserted by any party

in this action.




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       RESPONSE: Other than the documents already produced, none in possession of

Answering Defendants.

       37.      Complete copies of all expert reports and drafts of expert reports.

       RESPONSE: Answering Defendants have not yet determined which, if any, expert

witness(es) they will call at the time of trial of this matter. Discovery is ongoing and

Answering Defendants reserve the right to supplement this response at a later date and in

accordance with the applicable Rules of Civil Procedure and Orders issued by this Court.

       38.     Any and all statements or drafts of statements obtained from any person that is in

any way related to any claim or defense asserted by any party in this action.

       RESPONSE: None in possession of Answering Defendants.

       39.     Any and all Documents which any Third-Party Defendant provided to any expert

witness or potential expert witness in this action.

       RESPONSE: Answering Defendants have not yet determined which, if any, expert

witness(es) they will call at the time of trial of this matter. Discovery is ongoing and

Answering Defendants reserve the right to supplement this response at a later date and in

accordance with the applicable Rules of Civil Procedure and Orders issued by this Court.

       40.     Any and all Documents used or to be used by any expert in this action.

       RESPONSE: Answering Defendants have not yet determined which, if any, expert

witness(es) they will call at the time of trial of this matter. Discovery is ongoing and

Answering Defendants reserve the right to supplement this response at a later date and in

accordance with the applicable Rules of Civil Procedure and Orders issued by this Court.

       41.     The curriculum vitae or resume of all expert witnesses.




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       RESPONSE: Answering Defendants have not yet determined which, if any, expert

witness(es) they will call at the time of trial of this matter. Discovery is ongoing and

Answering Defendants reserve the right to supplement this response at a later date and in

accordance with the applicable Rules of Civil Procedure and Orders issued by this Court.

       42.    All Documents which refer, reflect or relate to any claim of damages you allegedly

suffered.

       RESPONSE: Answering Defendants have yet to make this determination. Discovery

is ongoing and Answering Defendants reserve the right to supplement this response at a later

date and in accordance with the applicable Rules of Civil Procedure and Orders issued by

this Court.

       43.    All Documents which support the allegations in any Answer filed, or to be filed, by

any Third-Party Defendant to Defendants’ Third-Party Complaint.

       RESPONSE: None in possession of Answering Defendants, as Answering Defendants

have made no “allegations” in any pleading they have filed.

       44.    All Documents which support the allegations of any Affirmative Defense filed, or

to be filed, by any Third-Party Defendant to Defendants’ Third-Party Complaint.

       RESPONSE: Answering Defendants have not yet made this determination.

Discovery is ongoing and Answering Defendants reserve the right to supplement this

response at a later date and in accordance with the applicable Rules of Civil Procedure and

Orders issued by this Court.

       45.    All Documents which support the allegations of any Counterclaim filed, or to be

filed, by any Third-Party Defendant to Defendants’ Third-Party Complaint.




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         RESPONSE: None in possession of Answering Defendants, as no counterclaim was

filed.

         46.    All Documents upon which any Third-Party Defendant will rely or will introduce

as evidence or as an exhibit at trial.

         RESPONSE: Answering Defendants have not yet made this determination.

Discovery is ongoing and Answering Defendants reserve the right to supplement this

response at a later date and in accordance with the applicable Rules of Civil Procedure and

Orders issued by this Court. Answering Defendants reserve the right to introduce at the

time of trial any and all documents exchanged by the parties in discovery by any manner.

         47.    All Documents upon which any Third-Party Defendant will rely or will introduce

as evidence or as an exhibit at trial, in support of each of Defendant’s Affirmative Defenses.

         RESPONSE: Answering Defendants have not yet made this determination.

Discovery is ongoing and Answering Defendants reserve the right to supplement this

response at a later date and in accordance with the applicable Rules of Civil Procedure and

Orders issued by this Court.

         48.    All Documents which reflect, refer or relate to any Communications by or between

you and any of the Defendants regarding Plaintiff.

         RESPONSE: Nono in possession of Answering Defendants.

         49.    All Documents which reflect, refer or relate to any Communication between you

and any other person or entity concerning Plaintiff.

         RESPONSE: None in possession of Answering Defendant.

         50.    Any and all Documents provided by you to any other party in this action.




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       RESPONSE: See          documents      previously    produced      and    Bates     stamped

ZEKARIA000001 through ZEKARIA000035..

       51.     Any and all Documents provided to you by any other party in this action.

       RESPONSE: None in possession of Answering Defendant.

       52.      Full and complete copies of each and every Third-Party Defendant insurance

policy (including all declaration pages and amendments thereto) which covers or may cover any

claims that Defendants have asserted against the Third-Party Defendants in this action or which

Plaintiff has asserted against the Defendants.

       RESPONSE: Answering Defendants do not have insurance coverage for this matter.

       53.     For the time period of February 24, 2012 through the present, all Documents in the

possession or control of any Third-Party Defendant pertaining to any fraud or breach of contract

claims made by any other person or entity or their attorney, against any of the Third-Party

Defendants, and Documents pertaining to any Communications and/or settlement negotiations

involving any such person or entity, including without limitation: VRC Medical Supplies; and

Hand Safety, LLC; and David Wright and/or DKW Consulting LLC.

       RESPONSE: None in possession of Answering Defendanst.

       54.     For the time period of February 24, 2012 through the present, all Documents in the

possession or control of any Third-Party Defendant identifying or pertaining to any criminal

charges asserted against Weiss, including Documents pertaining to any charges of or conviction

for embezzlement or larceny or any other crime, and/or probation in connection therewith.

       RESPONSE: None in possession of Answering Defendants.

       55.      For the time period of February 24, 2012 through the present, all Documents in the

possession or control of any Third-Party identifying or pertaining to any criminal charges asserted




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against ASOLAR, including documents pertaining to any charges of or conviction for

embezzlement or larceny or any other crime, and/or probation in connection therewith.

       RESPONSE: None in possession of Answering Defendants.

       56.     Regardless of time period, all Documents in the possession or control of any Third-

Party Defendant identifying or pertaining to any disciplinary inquiry, complaint or proceeding

brought against any Sternberg Defendant in any jurisdiction which in any way relates to any license

to practice law of any Sternberg Defendant.

       RESPONSE: None in possession of Answering Defendants.

       57.     All Documents requested in or responsive to, any of the Interrogatories dated of

even date herewith and accompanying these Document Requests.

       RESPONSE: See         documents        previously   produced      and    Bates    stamped

ZEKARIA000001 through ZEKARIA000035.

                                                     REBAR KELLY


                                                     ____________________________________
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                                                     Attorneys for Defendants, Daphna Zekaria,
                                                     Esquire and Sokolski & Zekaria, P.C.

DATE:          April 15, 2024




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